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                        IN THE UNITED STATES DISTRICT COURT FOR THE
                              NORTHERN DISTRICT OF OKLAHOMA

     UNITED STATES OF AMERICA                    )
                                                 )
                           Plaintiff,            )
                                                 )
             v.                                  )            Civil No. 4:08-cv-00278-TCK-PJC
                                                 )
     (1) LINDSEY K. SPRINGER, individually and )
     as Co-Trustee of the S.L.C.A. Family Trust; )
     (2) REGINA M. CARLSON, as Co-Trustee of )
     the S.L.C.A. Family Trust; (3) MARTHA F.    )
     MOORE, individually and as Trustee of the   )
     W.T. Moore and Martha F. Moore Revocable    )
     Trust Dated June 12, 2002; (4) W.T. SMITH;  )
     and (5) JANETH S. SMITH                     )
                                                 )
                           Defendants.           )

                                            ORDER FOR SALE

            This Court entered a final judgment in this action, ordering that the federal tax liens be

     foreclosed.

            The Court now ORDERS that the federal tax lien on the real property located in Creek

     County, Oklahoma (hereinafter “Property”) described as:

            The North half (N/2) of the Southeast Quarter (SE/4) of the Northwest Quarter (NW/4) of
            Section 2, Township 17 North, Range 10 East, of Creek County, State of Oklahoma.

     be foreclosed and that the Property be sold under title 28, United States Code, §§ 2001 and 2002,

     as follows:

            1. The Internal Revenue Service (“IRS”) Property Appraisal and Liquidation Specialists

     (“PALS”), is authorized to offer for public sale and to sell the Property.

            2. The terms and conditions of the sales are as follows:




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            a. The sale of the Property shall be free and clear of the interests of Lindsey K. Springer,

     Regina M. Carlson, the S.L.C.A. Family Trust and all parties named in the suit.

            b. The sale shall be subject to building lines, if established, all laws, ordinances, and

     governmental regulations (including building and zoning ordinances) affecting the Property, and

     easements and restrictions of record, if any;

            c. The sale shall be held either at the courthouse of the county or city in which the

     Property is located or on the Property’s premises;

            d. The PALS shall announce the date and time for sale;

            e. Notice of the sale shall be published once a week for at least four consecutive weeks

     before the sale in at least one newspaper regularly issued and of general circulation in Creek

     County, Oklahoma and, at the discretion of the PALS, by any other notice that the PALS deems

     appropriate. The notice shall contain a description of the Property and shall contain the terms

     and conditions of sale in this order of sale;

            f. The PALS shall set the minimum bids. If the minimum bids are not met or exceeded,

     the PALS may, without further permission of this Court, and under the terms and conditions in

     this order of sale, hold a new public sale, if necessary, and reduce the minimum bids.

            g. At the time of the sale, the successful bidder(s) shall deposit with the PALS, by cash

     or by certified or cashier’s check payable to the Clerk of the United States District Court for the

     Northern District of Oklahoma, a minimum of twenty (20) percent of the bid. Before being

     permitted to bid at the sale, potential bidders shall display to the PALS proof that they are able to

     comply with this requirement. No bids will be accepted from any person(s) who have not




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     presented proof that, if they are the successful bidders(s), they can make the deposit required by

     this order of sale;

             h. The successful bidder(s) shall pay the balance of the purchase price for the Property to

     the clerk of this Court within thirty (30) days following the date of the sale, by a certified or

     cashier’s check payable to the United States District Court for the Northern District of

     Oklahoma. If the bidder fails to fulfill this requirement, the deposit shall be forfeited and shall

     be applied to cover the expenses of the sale, with any amount remaining to be applied to the

     liabilities of Lindsey K. Springer at issue herein. The Clerk shall distribute the deposit as

     directed by the PALS by check made payable to the “United States Treasury.” The Property

     shall be again offered for sale under the terms and conditions of this order of sale or, in the

     alternative, sold to the second highest bidder. The United States may bid as a credit against its

     judgment without tender of cash;

             i. The sale of the Property shall be subject to confirmation by this Court. On

     confirmation of the sale, the PALS shall execute and deliver its deed conveying the Property to

     the purchasers. On confirmation of the sale, all interests in, liens against, or claims to, the

     Property that are held or asserted by all parties to this action are discharged and extinguished.

             j. When this Court confirms the sale, the Creek County Recorder shall cause transfer of

     the Property to be reflected upon that county’s register of title. The successful bidder at the sale

     shall pay, in addition to the amount of the bid, any documentary stamps and Clerk’s registry fees

     as provided by law;

             k. The sale of the Property is ordered pursuant to 28 U.S.C. § 2001, and is made without

     right of redemption.


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            3. Until the Property is sold, Lindsey K. Springer shall take all reasonable steps

     necessary to preserve the Property (including all buildings, improvements, fixtures and

     appurtenances on the property) in its current condition including, without limitation, maintaining

     a fire and casualty insurance policy on the Properties. He shall neither commit waste against the

     Property nor cause or permit anyone else to do so. He shall neither do anything that tends to

     reduce the value or marketability of the Property nor cause or permit anyone else to do so. The

     defendants shall not record any instruments, publish any notice, or take any other action (such as

     running newspaper advertisements, posting signs, or making internet postings) that may directly

     or indirectly tend to adversely affect the value of the Property or that may tend to deter or

     discourage potential bidders from participating in the public auction, nor shall they cause or

     permit anyone else to do so.

            4. All persons occupying the Property shall vacate the Property permanently within 30

     days of the date of this Order, each taking with them his or her personal property (but leaving all

     improvements, buildings, fixtures, and appurtenances to the Properties). If any person fails or

     refuses to vacate the Property by the date specified in this Order, the PALS are authorized to

     coordinate with the United States Marshal to take all actions that are reasonably necessary to

     have those persons ejected. Any personal property remaining on the Property 30 days after the

     date of this Order is deemed forfeited and abandoned, and the PALS is authorized to dispose of it

     in any manner they see fit, including sale, in which case the proceeds of the sale are to be applied

     first to the expenses of sale and the balance to be paid into the Court for further distribution.

            5. No later than two business days after vacating the Property pursuant to the deadline

     set forth in paragraph 4 above, Lindsey K. Springer shall notify counsel for the United States of


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     a forwarding address where he and she can be reached. Notification shall be made by contacting

     counsel for the United States at (202) 514-9953.

            6. Pending the sale of the Property and until the deed to the Property is delivered to the

     successful bidder(s), the IRS is authorized to have free access to the premises in order to take

     any and all actions necessary to preserve the Property, including, but not limited to, retaining a

     locksmith or other person to change or install locks or other security devices on any part of the

     Property.

            7. After the Court confirms the sale, the sale proceeds are to be paid to the Clerk of this

     Court and applied to the following items, in the order specified:

            a. First, to the PALS for the expenses of the sale, including any expenses incurred to

     secure or maintain the property pending sale and confirmation by the Court;

            b. Second, to all taxes unpaid and matured, if any, that are owed to Creek County for real

     property taxes on the property.

            c. Third, to W.T. Smith and Janeth S. Smith and Martha F. Moore, individually and as

     Trustee of the W.T. Moore and Martha F. Moore Revocable Trust dated June 12, 2002;

            d. Fourth, to the liability of Lindsey K. Springer for federal income tax liabilities for the

     years 1990 through 1995 plus all accrued interest, penalties, and other additions permitted by

     law;




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            e. Fifth, any balance remaining after the above payments have been made shall be held

     by the Clerk until further order of the Court.

            SO ORDERED this 16th day of March, 2010.



                                                        ________________________________
                                                        TERENCE KERN
                                                        United States District Judge




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